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              EXHIBIT OO
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1                         UNITED STATES DISTRICT COURT
2                        SOUTHERN DISTRICT OF NEW YORK
3
4     SECURITIES AND EXCHANGE             )
      COMMISSION,                         )
5                                         )
                           Plaintiff,     ) Case No.
6                v.                       ) 1:23-cv-1346(JSR)
                                          )
7     TERRAFORM LABS PTE LTD. and         )
      DO HYEONG KWON,                     )
8                                         )
                           Defendants.    )
9     ____________________________________)
10
11
12
13
14          VIDEOTAPED DEPOSITION OF ARRASH CHRISTOPHER AMANI
15                       Tuesday, September 12, 2023
16                            New York, New York
17
18
19
20
21
22
23
24    Reported by:
      JEFFREY BENZ, CRR, RMR
25    Job No. 230912JBE
                                                                         1

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11:11   1     me get this contract signed.          That kind of stuff.
        2            Q.    So getting back to Kernel Labs, what was
        3     the purpose of Kernel Labs?
        4                  MR. HENKIN:     Objection.      Asked and
11:11   5     answered.
        6            A.    I -- I don't -- yeah.        I don't know that I
        7     could add more beyond what I said.
        8                  Just that I thought that they were going to
        9     build on -- on Terra.        I know they were focused on
11:12 10      gaming.
        11           Q.    Was Kernel Labs an affiliate of
        12    Terraform Labs?
        13           A.    I don't know the -- I don't know that
        14    arrangement.
11:12 15             Q.    Are you familiar with an entity known as
        16    Gaza Labs?
        17           A.    Only by hearing about it.         I've heard of
        18    it, but I don't know what it was or what its purpose
        19    was.
11:12 20             Q.    How did you hear about it?
        21           A.    I just heard people say Gaza Labs.
        22           Q.    Do you recall who those people were?
        23           A.    Do.
        24           Q.    Do you recall what you heard Do Kwon say
11:13 25      about Gaza Labs?
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